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                                                U.S. Department of Justice

                                                United States Attorney
                                                Eastern District of New York

TH:JRS                                          271 Cadman Plaza East
F. #2018R01858                                  Brooklyn, New York 11201



                                                August 25, 2021

By ECF

The Honorable Kiyo A. Matsumoto
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Desmonn Beckett
                     Criminal Docket No. 20-213 (KAM)

Dear Judge Matsumoto:

               The government respectfully submits this letter in advance of sentencing in the
above-captioned case, which is scheduled for September 1, 2021 at 11:00 a.m. For the
reasons set forth below, the government submits that a sentence within the applicable United
States Sentencing Guidelines (the “Guidelines” or “U.S.S.G.”) range of 70 to 87 months in
custody is reasonable and appropriate in this case.

I.     Background

              A.     Factual Background

               The defendant is a member of the Elite Assassin Milla (“E.A.M.”), a set of the
Bloods street gang. See Presentence Investigation Report (“PSR”) ¶ 2. As a member of
E.A.M., the defendant was expected to earn money through criminal means — such as drug
dealing — and to engage in violence against the gang’s rivals. The defendant lived up to
those expectations.

             In particular, the defendant participated in the attempted murder of gang rival
John Doe #1. For several years, members and associates of E.A.M. had been trying to kill
John Doe #1 as retribution for the 2015 murder of E.A.M. member Jonathan Thomas. See
PSR ¶¶ 4-5. In 2018, members and associates of E.A.M. — including co-defendants
Tyshawn Corbett, Marlon Bristol, and Devon Bristol — engaged in a months-long effort to
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stalk John Doe #1 so that he could be found and murdered. See PSR ¶ 5. As part of that
plan, these individuals placed a GPS tracker on John Doe #1’s car so that his movements
could be monitored. See id.

               On June 28, 2018, the defendant drove Corbett to an access road next to a
hotel parking lot in Jamaica, Queens, where they lay in wait for John Doe #1 for
approximately an hour. See PSR ¶ 6. When John Doe #1 arrived at the location, Corbett
exited the defendant’s car, stealthily made his way to John Doe #1’s car, and fired repeatedly
at John Doe #1, striking him approximately six times. See id. Corbett then ran back to the
defendant’s waiting car and got back in. See id. The defendant then sped away. See id.

              John Doe #1 survived the attack but was left permanently paralyzed. See id.

              B.       The Defendant’s Criminal History

               On December 13, 2015, the defendant was arrested in possession of a firearm
concealed inside his vehicle. See PSR ¶ 26. The defendant was initially indicted with felony
weapons possession charges, the defendant ultimately pleaded guilty to a misdemeanor
charge of criminal possession of a weapon in the fourth degree. On January 18, 2017
(approximately 17 months prior to the instant offense), the defendant was sentenced to a
conditional discharge. See id.

              C.       Procedural History

              On June 18, 2020, the defendant was charged by indictment with one count of
being an accessory after the fact to attempted murder in-aid-of racketeering. See ECF Dkt.
No. 1 ¶¶ 35-36. The defendant was arrested on June 23, 2020, and was ordered detained by
the Honorable Cheryl L. Pollak on June 24, 2020. See ECF Dkt. No. 25. On August 15,
2020, the defendant moved for bail before this Court, which motion was denied. See ECF
Dkt. No. 81; ECF Order dated Aug. 31, 2020.

               On April 7, 2021, the defendant pleaded guilty pursuant to a plea agreement to
the sole count against him. See ECF Dkt. No. 120.

II.    Guidelines Calculation

               Under the Guideline for accessory after the fact (U.S.S.G. § 2X3.1), the
offense level is the lower of 30 or six levels below the offense level for the underlying
offense. Here, the underlying offense is attempted murder, which carries the below offense
level:

              Base Offense Level of Underlying Offense (§ 2A2.1(a)(1))                      33

              Plus:       Victim sustained permanent bodily injury (§ 2A2.1(b)(1)(A))      +4

              Total:                                                                        37

                                              2
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               Because six less than 37 (i.e., 31) is more than 30, the offense level pursuant to
U.S.S.G. § 2X3.1(a)(3)(A) is 30. With an additional three-point reduction for acceptance of
responsibility pursuant to U.S.S.G. § 3E1.1, the applicable adjusted offense level is 27. This
is the same calculation applied in the PSR. See PSR ¶¶ 15-24.

               Based on an offense level of 25 and a Criminal History Category of I, the
defendant is subject to an advisory Guidelines range of 70 to 87 months in custody. See PSR
¶ 60.1

III.   Argument

               The Guidelines range accurately reflects the seriousness of the defendant’s
conduct aiding in an attempted murder and in facilitating the shooter’s escape from the crime
scene. See 18 U.S.C. § 3553(a)(1), (a)(2)(A). Moreover, a sentence within the Guidelines
range will provide appropriate deterrence to the defendant and to others contemplating
similar acts and will adequately protect the public from further crimes by the defendant. See
18 U.S.C. § 3553(a)(2)(B), (a)(2)(C).

               Although the defendant suggests that his crime was committed out of
misplaced family loyalty (see ECF Dkt. No. 143), that claim dramatically understates the
defendant’s culpability. The defendant actively participated in a planned assassination that
left a man paralyzed. And that behavior cannot be considered aberrant. By joining E.A.M.,
the defendant had committed himself to a criminal lifestyle and to a life of violence. Those
were choices the defendant made for himself.

               Those choices are particularly disheartening given the defendant’s other
circumstances. While many defendants in similar cases argue that the lack of economic
opportunity or the burdens of a criminal record drove them to a gang association, the
defendant can make no such excuse. The defendant had steady employment and income.
The defendant had already been caught once committing the serious crime of possessing a
firearm but had managed to avoid serious consequences through a misdemeanor plea. Rather
than learning a lesson from that experience and clinging to the opportunities his job provided
him and his family, the defendant chose instead to prioritize his status as a member of the
gang.

               The level of dedication to the gang shown by the defendant’s actions, the lack
of deterrent effect from the defendant’s prior conviction, and the devastating consequences
of the defendant’s actions, all warrant a serious sentence. A sentence within the applicable
Guidelines range — which is well below the range that would have applied if the defendant
had been charged with aiding and abetting the shooting, rather than merely acting as an

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               The calculation is the same calculation set forth in the defendant’s plea
agreement, except that the plea agreement allowed for an additional one-point reduction if
the defendant’s guilty plea was part of a global resolution. Because there was no global
resolution, the defendant is not entitled to the additional reduction.
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accessory after the fact — would appropriately balance those factors with the defendant’s
role and other characteristics. Accordingly, the Guidelines sentencing range is sufficient, but
not greater than necessary, to achieve Section 3553(a)’s purposes.

V.     Conclusion

              For the foregoing reasons, the government respectfully requests that the Court
impose a sentence that is sufficient, but not greater than necessary to achieve the goals of
sentencing, see 18 U.SC. § 3553(a)(2), which, in this case, is within the applicable
Guidelines range of 70 to 87 months in custody.

                                                   Respectfully submitted,

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                                            By:     /s/ Jonathan Siegel
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cc:    Clerk of the Court (KAM) (by ECF)
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